            Case 1:23-mc-00007-RC Document 12 Filed 07/25/23 Page 1 of 7




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


    IN RE: JEFFREY B. CLARK,

         Appellant                                       1:22-mc-96

    v.                                                   1:23-mc-7

    D.C. OFFICE OF DISCIPLINARY                          1:23-mc-117
    COUNSEL,
                                                         (consolidated)
         Appellee


         MOTION TO TAKE JUDICIAL NOTICE OF ARTICLE I PROCESS
          FILINGS RELATED TO THIS REMOVAL FOR PURPOSES OF
              ADJUDICATING THE PENDING MOTION TO STAY

          On July 11, 2023, Appellant Jeffrey Clark filed a Motion for Stay

Pending Appeal in these consolidated cases. See ECF 25.1 The Motion asked

this Court to stay its June 8, 2023 Order remanding the case back to the local

Article I process in the District of Columbia. The government filed an

opposition on July 21, 2023. See ECF 26. Mr. Clark is preparing his reply,

which will be filed on Friday, July 28, 2023 because, after a flurry of activity

in the Hearing Committee trying to set the case for trial, the Hearing




1
    ECF citations are to the first of the three removal cases, 1:22-mc-96.
                                                1
         Case 1:23-mc-00007-RC Document 12 Filed 07/25/23 Page 2 of 7




Committee Chair postponed a pre-hearing conference and appears to be

standing down for now, giving time for this Court to resolve the Motion to

Stay on a less-pressured timeframe.2

       To assist the court in deciding this Motion, Mr. Clark submits the

attached exhibits from the D.C. Court of Appeals and Hearing Committee 12

for the Court’s judicial notice pursuant to Federal Rule of Evidence 201. The

exhibits embrace filings from both Mr. Clark and ODC following this

Court’s June 8 remand. Included in the exhibits are several filings before

Hearing Committee 12 from after Mr. Clark’s July 11 motion to stay.

       Filings in the DCCA

    1. Disciplinary Counsel’s Notice of Order Granting Remand (ODC) (June

       9, 2023) [Exhibit 1].

    2. Motion to Continue Abeyance of Proceedings Before This Court and/or

       Defer Proceedings Below. (Respondent) (June 12, 2023) [Exhibit 2].




2
 As indicated in his Motion to Stay in this Court, Mr. Clark has also filed a Motion to Stay
before the Court of Appeals. See In re: Jeffrey Clark, 23-7073. Mr. Clark’s forthcoming reply
brief in support of his stay in this Court will explain intervening events in the local
process such as the Hearing Committee’s decision to postpone a pretrial conference.
                                             2
    Case 1:23-mc-00007-RC Document 12 Filed 07/25/23 Page 3 of 7




3. Opposition to Motion to Continue Abeyance (ODC) (June 20, 2023)

  [Exhibit 3].

4. Motion For Leave to Exceed Length Limitations for Reply in Support

  of Motion to Continue Abeyance of Proceedings Before this Court

  and/or Defer Proceedings Below (Respondent) (June 21, 2023) [Exhibit

  4].

5. Reply in Support of Motion to Continue Abeyance of Proceedings

  Before This Court and/or Defer Proceedings Below (Respondent) (June

  23, 2023) [Exhibit 5].

6. Motion to Expedite Ruling on Motion to Continue Abeyance of

  Proceedings Before This Court and/or Defer Proceedings Below

  (Respondent) (July 5, 2023) [Exhibit 6].

7. Motion to Supplement the Record (ODC) (July 7, 2023) [Exhibit 7].

8. Response to Motion to Supplement (Respondent) (July 10, 2023)

  [Exhibit 8].

9. Motion to Take Notice of Hearing Committee Twelve Filing

  (Respondent) (July 10, 2023) [Exhibit 9].


                                  3
        Case 1:23-mc-00007-RC Document 12 Filed 07/25/23 Page 4 of 7




      None of the motions listed above in Items 1 through 9 have yet been

acted upon by the DCCA despite the request for expedited consideration.

      Filings Before Hearing Committee 12

    1. Hearing Committee Order – Directing the Parties to Submit Status

      Reports (June 16, 2023) [Exhibit 10].

    2. Lodged Respondent’s Status Report (Respondent) (June 23, 2023)

      [Exhibit 11].

    3. Disciplinary Counsel’s Status Report (ODC) (June 23, 2023) [Exhibit

      12].

    4. Hearing Committee Order — Setting Pre Hearing Conference (Chair

      of Hearing Committee 12) (July 5, 2023) [Exhibit 13]3

    5. Lodged Notice of Motion to Expedite Filed in the Court of Appeals

      Respondent) (July 5, 2023) [Exhibit 14].




3
 This item was included in Mr. Clark’s Motion to Stay as Exhibit 1 and is thus already a
part of the record. We included it here for the convenience of having all the relevant
documents in one place.
                                           4
    Case 1:23-mc-00007-RC Document 12 Filed 07/25/23 Page 5 of 7




6. Lodged    Respondent’s     Motion   for     Reconsideration   and    for

  Postponement of Pre-Hearing Conference (Respondent) (July 7, 2023)

  [Exhibit 15].

7. Lodged Respondent’s Motion to Vacate Orders (Respondent) (July 9,

  2023) [Exhibit 16].

8. Hearing Committee Order — Directing ODC to Respond to Motion to

  Vacate Orders by 3 p.m. on July 11th (Chair of Hearing Committee 12)

  (July 10, 2023) [Exhibit 17].

9. Disciplinary Counsel’s Opposition to Motion to Vacate (ODC) (July 11,

  2023) [Exhibit 18].

10. Lodged Respondent’s Reply in Support of Motion to Vacate Orders

  (Respondent) (July 11, 2023) [Exhibit 19].

11. Affidavit of Theodore Metzler (ODC) (July 12, 2023) [Exhibit 20].

12. Hearing Committee Order — Postponing the Pre-Hearing Until

  Motion to Vacate is Resolved (July 12, 2023) [Exhibit 21].

13. Lodged Respondent’s Motion to Disregard ODC Affidavit as Legally

  Deficient and Thus Irrelevant (Respondent) (July 13, 2023) [Exhibit 22].


                                  5
        Case 1:23-mc-00007-RC Document 12 Filed 07/25/23 Page 6 of 7




      Appellant believes that this Motion will be helpful to the Court in

resolving the Motion for Stay Pending Appeal. ODC informed us it opposed

the parallel filing in connection with the requested stay from the D.C.

Circuit. But ODC also told us that it would not file an opposition in that

Court. We assume that they will take a similar approach in this Court.

                               CONCLUSION

      For the foregoing reasons, Respondent Jeffrey Clark respectfully

requests that this Court grant this Motion to Take Judicial Notice of Article I

Process Filings Related to This Removal for Purposes of Adjudicating the

Pending Motion to Stay.

      Respectfully submitted this 25th day of July 2023.

/s/ Charles Burnham                    Harry W. MacDougald
                                       Georgia Bar No. 453076
Charles Burnham                        Caldwell, Carlson, Elliott & DeLoach,
DC Bar No. 1003464                     LLP
Burnham and Gorokhov, PLLC             Two Ravinia Drive, Suite 1600
1750 K Street, NW                      Atlanta, Georgia 30346
Suite 300                              (404) 843-1956
Washington DC 20006                    hmacdougald@ccedlaw.com
(202) 386-6920
charles@burnhamgorokhov.com



                                      6
       Case 1:23-mc-00007-RC Document 12 Filed 07/25/23 Page 7 of 7




                       CERTIFICATE OF SERVICE

     I hereby certify that I have on this day served counsel for the opposing

party with a copy of this Motion to Take Judicial Notice of Article I Process

Filings Related to This Removal for Purposes of Adjudicating the Pending

Motion to Stay via the ECF system:

     Hamilton P. Fox
     Jason R. Horrell
     D.C. Bar
     Building A, Room 117
     515 5th Street NW
     Washington DC 20001
     foxp@dcodc.org

     This this 25th day of July 2023



                                           /s/ Charles Burnham
                                           Charles Burnham
                                           DC Bar No. 1003464
                                           1750 K Street, NW
                                           Suite 300
                                           Washington DC 20006
                                           202-386-6920
                                           charles@burnhamgorokhov.com




                                       7
